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1    DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
2    117 J Street, Suite 202
     Sacramento, California 95814-2282
3    (916) 447-1193
4    Attorney for Defendant
     ANGELITO EVANGELISTA
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7
8                              IN THE UNITED STATES DISTRICT COURT
9                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )                  No. CR-S-08-318 LKK
                                   )
12         Plaintiff,              )              STIPULATION AND
                                   )              ORDER
13   v.                            )              EXTENDING DUE DATE
                                   )              FOR SECURED BOND
14   ANGELITO EVANGELISTA,         )
                                   )
15         Defendant.              )
     ______________________________)
16
17          It is hereby stipulated and agreed to between, Angelito Evangelista, by and through
18   counsel, Dwight M. Samuel, Attorney at Law and United States of America, by and through
19   Courtney Linn, Assistant United States Attorney, that the Secured Bond, originally ordered to be
20   filed on July 23, 2008 then extended to July 30, 2008 be extended to permit filing on or by
21   August 6, 2008.
22
23   Respectfully submitted,
24   Dated: July 30, 2008
25                                                       /s/ Dwight M. Samuel
                                                         DWIGHT M. SAMUEL
26                                                       Attorney for Defendant
27
28
                 Case 2:08-cr-00318-DAD Document 85 Filed 07/31/08 Page 2 of 2


1    Dated: July 30, 2008
                                                       /s/ Courtney Linn1
2                                                      COURTNEY LINN
                                                       Assistant U.S. Attorney
3
     IT IS SO ORDERED.
4
     Dated: 07/31/08
5                                                      /s/ Gregory G. Hollows
                                                       _________________________
6                                                      United States District Court Judge
7    evangelista.ord
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                Signed per telephonic authorization.
